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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
Bryan Estrada                                                        CASE NUMBER
                                                                       5:20−cv−00219 JGB (SHKx)
                                                     Plaintiff(s),
                               v.
                                                                           NOTICE OF DISMISSAL PURSUANT
CHW Las Haciendas Development, LLC, et al.
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    G This action is dismissed by the Plaintiff(s) in its entirety.

    G The Counterclaim brought by Claimant(s)                                                                                is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                                is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                           is
      dismissed by the Claimant(s) in its entirety.

    ✔ ONLY Defendant(s) CHW Las Haciendas Development, LLC
    G

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by Bryan Estrada without prejudice.                                                                     .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




     February 25, 2020                               /s/ Ross Cornell
                Date                                                 Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
